                Case 21-41504              Doc 1          Filed 10/25/21 Entered 10/25/21 11:07:17                            Desc Main
                                                            Document     Page 1 of 11
     Fill in this information to identify the case:

     United States Bankruptcy Court for the:
     Eastern
     ____________________             Texas
                          District of _________________
                                          (State)

                                                                
     Case number (If known): _________________________ Chapter _____

                                                                                                                                        Check if this is an
                                                                                                                                           amended filing
Official Form 205
Involuntary Petition Against a Non-Individual                                                                                                           12/15

Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin
a case against an individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as complete and accurate as possible. If
more space is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor’s name and case number (if
known).


Part 1:      Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed


1.   Chapter of the                    Check one:
     Bankruptcy Code
                                            Chapter 7
                                            Chapter 11


Part 2:      Identify the Debtor


2.   Debtor’s name                      Overwatch Technologies, Inc.
                                       ______________________________________________________________________________________________________



3.   Other names you know               Overwatch Digital Health, Inc.
                                       __________________________________________________
     the debtor has used in
     the last 8 years
                                       SAE Digital Health, Inc.
                                       __________________________________________________

                                       __________________________________________________
     Include any assumed
     names, trade names, or
     doing business as names.

4.   Debtor’s federal
     Employer Identification            Unknown
     Number (EIN)
                                       ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                       EIN

                                       Principal place of business                                    Mailing address, if different
5.   Debtor’s address

                                        17440 Dallas Parkway STE 230
                                       ________________________________________________               _________________________________________________
                                       Number     Street                                              Number     Street


                                                                                                      _________________________________________________
                                       _________________________________________________
                                                                                                      P.O. Box

                                        Dallas
                                       ______________________________
                                                                             TX       75287
                                                                            _______ _________         _____________________________ _______ _________
                                       City                                 State   ZIP Code          City                          State   ZIP Code



                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business

                                        Collin County
                                       _________________________________________________              _________________________________________________
                                       County                                                         Number     Street

                                                                                                      _________________________________________________

                                                                                                      _____________________________ _______ _________
                                                                                                      City                          State   ZIP Code


Official Form 205                                         Involuntary Petition Against a Non-Individual                                    page 1
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Debtor         Overwatch Technologies, Inc.
               _______________________________________________________                          Case number (if known)_____________________________________
               Name




6.    Debtor’s website (URL)          RYHUZDWFKGKFRP
                                    _____________________________________________________________________________________________________




7.    Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                        Partnership (excluding LLP)
                                        Other type of debtor. Specify: __________________________________________________________________________


8.    Type of debtor’s
                                    Check one:
      business
                                     Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                     Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                     Railroad (as defined in 11 U.S.C. § 101(44))
                                     Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                     Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                     Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                     None of the types of business listed.
                                     Unknown type of business.

9.    To the best of your               No
      knowledge, are any
      bankruptcy cases                  Yes. Debtor _________________________________________________ Relationship __________________________
      pending by or against
                                              District __________________________ Date filed _______________ Case number, if known____________________
      any partner or affiliate
                                                                                             MM / DD / YYYY
      of this debtor?

                                              Debtor _________________________________________________            Relationship __________________________

                                              District __________________________ Date filed _______________ Case number, if known____________________
                                                                                             MM / DD / YYYY




Part 3:        Report About the Case

10.   Venue                         Check one:

                                     Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of
                                        business, or principal assets in this district longer than in any other district.

                                     A bankruptcy case concerning debtor’s affiliates, general partner, or partnership is pending in this district.

11.   Allegations                   Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
                                    The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

                                    At least one box must be checked:

                                     The debtor is generally not paying its debts as they become due, unless they are the subject of a bona
                                        fide dispute as to liability or amount.

                                     Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or an
                                        agent appointed or authorized to take charge of less than substantially all of the property of the
                                        debtor for the purpose of enforcing a lien against such property, was appointed or took possession.

12.   Has there been a               No
      transfer of any claim
      against the debtor by or       Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy
      to any petitioner?                Rule 1003(a).


Official Form 205                                     Involuntary Petition Against a Non-Individual                                        page 2
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Debtor            Overwatch Technologies, Inc.
                  _______________________________________________________                                            Case number (if known)_____________________________________
                  Name




13.   Each petitioner’s claim                     Name of petitioner                                                Nature of petitioner’s claim             Amount of the claim
                                                                                                                                                             above the value of
                                                                                                                                                             any lien

                                                   Colepin Pty Limited ATF Barrett and Sons Trading Co Super Fund   Sec. & Unsec. Notes (Exs. A & B)           400,000.00*
                                                  ______________________________________                            _________________________________        $ ________________
                                                  Mossco Capital, Inc.                                              Unsec. Note (Ex. C)                        300,000.00*
                                                  ______________________________________                            _________________________________        $ ________________

                                                   Gary Snow                                                        Sec. Note (Ex. D)                          Unknown
                                                  ______________________________________                            _________________________________        $ ________________

                                                                                                                         Total of petitioners’ claims          700,000.00*
                                                                                                                                                             $ ________________
                                                                                                                                                        *Plus accrued interest
      If more space is needed to list petitioners, attach additional sheets. Write the alleged debtor’s name and the case number, if known, at
      the top of each sheet. Following the format of this form, set out the information required in Parts 3 and 4 of the form for each
      additional petitioning creditor, the petitioner’s claim, the petitioner’s representative, and the petitioner’s attorney. Include the
      statement under penalty of perjury set out in Part 4 of the form, followed by each additional petitioner’s (or representative’s) signature,
      along with the signature of the petitioner’s attorney.


Part 4:        Request for Relief

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
      $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

      Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. If a
      petitioning creditor is a corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a
      foreign representative appointed in a foreign proceeding, attach a certified copy of the order of the court granting recognition.

      I have examined the information in this document and have a reasonable belief that the information is true and correct.

      Petitioners or Petitioners’ Representative                                                    Attorneys


      Name and mailing address of petitioner
      Colepin Pty Limited ATF Barrett and Sons Trading Co Super Fund                                   Robert J. Shannon
                                                                                                     ________________________________________________________________
      ______________________________________________________________                                 Printed name
      Name
                                                                                                     Parkins Lee & Rubio LLP
      c/o Quantum Partners Level 1, 95-97 Grafton St
      ______________________________________________________________
                                                                                                     ________________________________________________________________
                                                                                                     Firm name, if any
      Number Street

      Bondi Junction, NSW, 2022 Australia                                                            700 Milam Street, Suite 1300
                                                                                                     ________________________________________________________________
      _________________________________ ______________ _____________
      City                              State          ZIP Code                                      Number Street

                                                                                                     Houston                                       TX            77002
                                                                                                     _________________________________ ______________ _____________
                                                                                                     City                              State          ZIP Code
      Name and mailing address of petitioner’s representative, if any

      Clive Barrett                                                                                                       713-715-1660             rshannon@parkinslee.com
      ______________________________________________________________                                 Contact phone       _________________ Email ___________________________
      Name

      c/o Quantum Partners Level 1, 95-97 Grafton Street
      ______________________________________________________________                                 Bar number            24108062
                                                                                                                        ___________________________________________________
      Number Street

      Bondi Junction, NSW, 2022 Australia                                                            State
                                                                                                                        Texas
                                                                                                                        _________________
      _________________________________ ______________ _____________
      City                              State          ZIP Code

      I declare under penalty of perjury that the foregoing is true and correct.

                          *07
      Executed on _________________
                  MM / DD / YYYY                                                                8       /s/Robert J. Shannon
                                                                                                     ________________________________________________________________
                                                                                                     Signature of attorney

8 V&OLYH%DUUHWW
      ______________________________________________________________
                                                                                                     Date signed           10/25/2021
                                                                                                                         _________________
      Signature of petitioner or representative, including representative’s title
                                                                                                                         MM / DD / YYYY



Official Form 205                                                  Involuntary Petition Against a Non-Individual                                                page 3
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Debtor         Overwatch Technologies, Inc.
               _______________________________________________________                                  Case number (if known)_____________________________________
               Name




   Name and mailing address of petitioner

    Mossco Capital, Inc.
   ______________________________________________________________
                                                                                            Robert J. Shannon
                                                                                          ________________________________________________________________
   Name                                                                                   Printed name

                                                                                           Parkins Lee & Rubio LLP
    33 Charles Street East, Suite 3604
   ______________________________________________________________
                                                                                          ________________________________________________________________
                                                                                          Firm name, if any
   Number Street

    Toronto, Ontario, M4Y 0A2, Canada                                                      700 Milam Street, Suite 1300
                                                                                          ________________________________________________________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code                              Number Street

                                                                                           Houston                                 TX              77002
                                                                                          _________________________________ ______________ _____________
                                                                                          City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                                            713-715-1660             rshannon@parkinslee.com
    Wayne Abramsohn
   ______________________________________________________________
                                                                                          Contact phone    _________________ Email ___________________________

   Name
    c/o Mossco Capital, Inc., 33 Charles Street East, Suite 3604                          Bar number        24108062
                                                                                                          ___________________________________________________
   ______________________________________________________________
   Number Street
                                                                                          State
                                                                                                           Texas
                                                                                                          _________________
    Toronto, Ontario, M4Y 0A2, Canada
   _________________________________ ______________ _____________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

                     *07
   Executed on _________________
               MM / DD / YYYY
                                                                                       8     /s/Robert J. Shannon
                                                                                           ________________________________________________________________
                                                                                          Signature of attorney


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    ______________________________________________________________                        Date signed       10/25/2021
                                                                                                           _________________
   Signature of petitioner or representative, including representative’s title                             MM / DD / YYYY




   Name and mailing address of petitioner
    Gary Snow
   ______________________________________________________________
                                                                                            Robert J. Shannon
                                                                                          ________________________________________________________________
   Name                                                                                   Printed name

                                                                                           Parkins Lee & Rubio LLP
   836 Penkivil Street
   ______________________________________________________________
                                                                                          ________________________________________________________________
                                                                                          Firm name, if any
   Number Street

    Bondi, NSW 2026, AUS                                                                   700 Milam Street, Suite 1300
                                                                                          ________________________________________________________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code                              Number Street

                                                                                           Houston                                 TX              77002
                                                                                          _________________________________ ______________ _____________
                                                                                          City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                                            713-715-1660             rshannon@parkinslee.com
                                                                                          Contact phone    _________________ Email ___________________________
   ______________________________________________________________
   Name
                                                                                          Bar number        24108062
                                                                                                          ___________________________________________________
   ______________________________________________________________
   Number Street
                                                                                          State
                                                                                                           Texas
                                                                                                          _________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

                    *07
   Executed on _________________
               MM / DD / YYYY
                                                                                       8     /s/Robert J. Shannon
                                                                                           ________________________________________________________________
                                                                                          Signature of attorney


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    ______________________________________________________________                        Date signed        10/25/2021
                                                                                                           _________________
   Signature of petitioner or representative, including representative’s title                             MM / DD / YYYY




Official Form 205                                              Involuntary Petition Against a Non-Individual                                       page 4
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                           UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

                                                   )
 In re:                                            ) Chapter 7
                                                   )
 OVERWATCH DIGITAL HEALTH, INC.,                   ) Case No. _________________
                                                   )
                         Alleged Debtor.           ) Involuntary
                                                   )

        SIGNED STATEMENT REGARDING TRANSFERS PURSUANT TO
     RULE 1003(A) OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE
      FOR COLEPIN ATF BARRETT AND SONS TRADING CO SUPER FUND

          On January 22, 2021, petitioning creditor Colepin ATF Barrett and Sons Trading Co Super

Fund (“Colepin”) transferred secured notes with a face value of $450,000 (the “Transferred

Notes”) to BioEye Ltd. (“BioEye”). The Transferred Notes do not form the basis for to Colepin’s

unsecured claim against the Alleged Debtor, which claim is based on separate unsecured notes

issued by the Alleged Debtor, and BioEye is not a petitioning creditor in this case. The

Transferred Claim was not transferred for the purpose of commencing this case.

          The information required by Bankruptcy Rule 1003(a) is as follows:


 Documents Evincing Transfer       Attached as Exhibit 1 hereto.

 Consideration for Transfer        Colepin is an equity owner in BioEye. The transfer was
                                   effectuated so that BioEye could offset certain unsecured
                                   obligations that BioEye owed to the Alleged Debtor, thereby
                                   increasing the value of Colepin’s equity in BioEye.

 Terms of the Transfer             As more fully reflected in Exhibit 1 hereto, the transfer was
                                   unconditional between Colepin and BioEye.


                           [Remainder of Page Intentionally Left Blank]
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     EXHIBIT 1 TO COLEPIN STATEMENT REGARDING TRANSFERS

         Transfer and Assignment of Certain Notes from Colepin to BioEye
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                                                                                            January 22, 2021


To:
Overwatch Digital Health, Inc.




                TRANSFER AND ASSIGNMENT OF PROMISSORY NOTE INSTRUMENT


          Reference is made to that certain Convertible Note Deed executed by Overwatch Digital Health,
 Inc. (the “Company”) and Colepin ATF Barrett and Sons Trading Co Super Fund (the “Investor”), dated
 February 15, 2019 (the “Agreement”), and that Promissory Note issued by the Company to the Investor
 of even date, in the amount of US$500,000 (the “Note”).
          We wish to notify you that in accordance with the terms and conditions of Section 3.6 to the
 Agreement, and except as set forth herein, we hereby assign and transfer the Agreement, and the Note and
 all rights thereunder, with respect to an amount of US$450,000 (the “Transferred Amount”) with full
 power of substitution to Bio-Eye Ltd. (the “Transferee”) of 8 Hatsedef St, POB 277, Hofit 4029500,
 Israel, as if the Agreement and the Note were executed by the Transferee. The remaining Notes under the
 Agreement, in the aggregate amount of $50,000, shall continue to be maintained by the Investor
 according to their terms.
          Notwithstanding the foregoing, payment of any interest accrued on account of the Purchase Price
 until the payment date, including, without limitation, on the Transferred Amount, shall be made according
 to the terms of the Agreement and the Note but the Company is instructed to make such interest payment
 to the Investor directly and not to the Transferee. It is clarified that repayment of the Transferred Amount
 itself shall be made directly to the Transferee according to wiring details to be provided by the Transferee.
        In light of this transfer, any security provided by the Company under the Agreement and/or the
 Note to ensure Company’s compliance shall be deemed to include the Transferee with respect to
 Company’s obligations with respect thereto.
         This letter and/or the transfer contemplated hereunder does not excuse, waive, modify or delay
 any of their respective rights and obligations of the Company under the terms and conditions of the
 Agreement and/or the Note.
         In accordance with the terms and conditions of the Agreement, an Accession Deed executed by
 the Transferee is attached hereto as Exhibit A.
         In witness hereof,
                         f the parties have exe
                                            executed this instrument of transfer,




Colepin ATF Barrett and Sons                                              BioEye Ltd.
Trading Co Super Fund
                                                                          By: Eran Ferri, CEO
By:_______________________
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                                           ACCESSION DEED


                                             January 22, 2021


To: Overwatch Digital Health, Inc. (the “Company”)


From: BioEye Ltd., a company registered in Israel, of 8 Hatsedef St, POB 277, Hofit 4029500, Israel.
Dear Sirs,
1.    We refer to the Convertible Note Deed dated February 15, 2019 (the “Deed”), of which we confirm
      we have received a copy and the transfer instrument to which this Deed is attached to. This Deed will
      take effect as an Accession Deed for the purposes of the Deed. Unless the context requires,
      capitalized terms defined in this deed have the meaning given in the Deed.
2.    BioEye Ltd. agrees to become an Investor and to be bound by the terms and conditions of the Deed,
      and the relevant Term Sheet, as an Investor with effect from the date of this deed and with respect to
      an amount of US$450,000.
3.    Bioeye Ltd. notice details for the purposes of the Deed and the Register are as follows:
      Address: 8 Hatsedef St, POB 277, Hofit 4029500, Israel.
      Attention:        Mr. Eran Ferri
      Email:    eran.ferri@bioeye.com
4.    This deed is governed by and construed in accordance with the laws of the United States and the
      State of Texas without regard to conflicts of laws provisions. The parties submit to the exclusive
      jurisdiction of the state and federal courts in Collin County, Texas and agree to waive all objections
      to personal jurisdiction, venue and forum non conveniens and any courts which may hear appeals
      from those courts in respect of any proceedings in connection with this deed.
Executed as a deed.


Executed by: BioEye Ltd.


      ____
        _ _____
_____________________
      an Ferri
By: Eran Ferri, CEO
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